Case 19-16457-jkf       Doc 16     Filed 11/20/19 Entered 11/20/19 15:09:17            Desc Main
                                   Document Page 1 of 1



                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 IN RE: Richard J. Spalding and Tamara L.
 Spalding f/k/a Tamara Marcum                       BANKRUPTCY CASE NUMBER
        Debtors,                                    19-16457/JKF

 Nationstar Mortgage LLC d/b/a Mr. Cooper           CHAPTER 7
 as servicer for US Bank N.A., not in its
 individual capacity but solely as Trustee for      11 U.S.C. § 362
 the CIM Trust 2017-8 Mortgage-Backed
 Notes, Series 2017-8                              November 20, 2019 at 2:00 PM
        Movant.
 v.                                                 Courtroom # 3

 Richard J. Spalding and Tamara L. Spalding
 f/k/a Tamara Marcum
        Debtors/Respondents,

 Michael H. Kaliner, Trustee
      Additional Respondent.
                                            ORDER

                          20th day of ______________,
        AND NOW, this ______              November                 xxxxxxxxxxxxxxxxxxxxxx
                                                             2019, at the Eastern District of
 xxxxxxxxxxxxxxx
Pennsylvania, upon the consideration of the Motion of Movant for Relief from the Automatic
Stay (the "Motion"), and the failure of Debtors to file an answer, appear or otherwise respond to
the Motion, and for good cause shown, it is

         ORDERED AND   xxxxxxxxxxxxxxx
                            DECREED that the Automatic Stay of all proceedings, as provided
under Section 362 of the Bankruptcy Abuse Prevention and Consumer Protection Act of 2005
(the "Code"), 11 U.S.C. § 362, is lifted to allow Movant, or its successors, if any, to proceed with
its rights under its loan documents for the property located at 148 Schoolview Lane, Oxford, PA
19363; and it is
       xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
       FURTHER      ORDERED that Rule 4001(a)(3) is not applicable and Movant, or its
 xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx
successors, if any, may immediately implement this order.



                                              BY THE COURT:


                                              ___________________________________
                                              HONORABLE JEAN K. FITZSIMON
                                              UNITED STATES BANKRUPTCY JUDGE
